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IN THE UNITED STATES DISTRICT COPR
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division ;

UNITED STATES OF AMERICA )
v. Criminal No. 1:23CR091-001
BENNIE EARL MAGEE,
Defendant.
)
RESTITUTION ORDER

1. Pursuant to 18 U.S.C § 3663A(a)(1), the defendant is ordered to pay restitution in the
amount of $7,619,379.00, jointly and severally with Michael Gilcher (1:23CR086-001)
and with any other defendants who are ordered to pay restitution for the same losses.

2. Each defendant shall be required to pay up to the full amount imposed against that
defendant, unless or until all victims of that defendant have received payment of the full
amount of restitution awarded to each victim.

3. The Clerk of Court shall forward all restitution payments to the victims at the addresses
provided in the Attachment A to this Order.

4, Interest:
Vv is waived,

accrues as provided in 18 U.S.C § 3612(f).

5. Notwithstanding any other provision of this Restitution Order or the sentence imposed,
including the directive to make periodic payments, restitution is due in full and payable
immediately from assets known and unknown and including assets identified in the
Presentence Report. The Government may enforce restitution at any time.

6. If incarcerated, the Court encourages the defendant to participate in the Bureau of
Prisons’ Inmate Financial Responsibility Program, to comply with the provisions of the

financial plan, and to meet the defendant’s financial obligation, pursuant to 28 C.F.R. §
545.10-11.
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10.

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If restitution is not paid in full immediately, the defendant shall pay to the Clerk at least
$2390 _ per month or 25 percent of net income, whichever is greater, beginning 60
days after release from any period of confinement, or 60 days after sentencing if no
confinement is imposed.

All payments shall be made to the Clerk of Court, United States District Court, 401
Courthouse Square, Alexandria, VA 22314.

Within 30 days of (a) any change of name, residence, or mailing address; and/or (b) any
material change in economic circumstances that affects the ability to pay restitution, the
defendant shall notify the Clerk of Court and the United States Attorney’s Office,
Financial Litigation Unit, 8000 World Trade Center, Norfolk, Virginia 23510.

No delinquent or default penalties will be imposed except upon Order of the Court.

The Clerk of Court shall distribute the funds to the victims on a pro rata basis.

Honorable Claude M. Hilton
Senior United States District Judge

ENTERED this day fast 2023.

at Alexandria, Virginia

WE ASK FOR THIS: SEEN AND AGREED:
Jessica D. Aber ee 5 Mtoe
United States Attorney ennie Earl Magee

Defendant

Wit l £2 hte

“Kathleen Robeson
Russell L. Carlberg Start A. Sears
y

Assistant United States A

ounsel for Defendant
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ATTACHMENT A TO RESTITUTION ORDER

Victim:

Loss Amount:

SBA — EIDL Program:

U.S. Small Business Administration
Office of Disaster Assistance

Attn: Executive Office,

14925 Kingsport Rd,

Ft. Worth, TX 76155

$854,000

SBA-PPP Lender Fees

Debra L. Mayer, Supervisory Fraud Risk
Specialist

National Guaranty Purchase Center (NGPC)
Office of Financial Program Operations
U.S. Small Business Administration

1165 Herndon Parkway

Herndon, VA 20170

$6,765,379

Total due from defendant:

$7,619,379.00

